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          10                              UNITED STATES DISTRICT COURT
          11              CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
          12
                 NETLIST INC., a Delaware               CASE NO. 8:20-cv-00993-MCS-ADS
          13     corporation,
                                                        PLAINTIFF NETLIST, INC.’S
          14                         Plaintiff,         NOTICE OF LODGING OF
                                                        SUPPLEMENTAL EXHIBITS RE:
          15           vs.                              SUMMARY JUDGMENT WITH
                                                        RESPECT TO AFFIRMATIVE
          16     SAMSUNG ELECTRONICS CO.,               DEFENSES
                 LTD., a Korean corporation,
          17                                            Action Filed: May 28, 2020
                                     Defendant.
          18                                            Final Pretrial Conference: Nov. 15, 2021
                                                        Trial Date:                Nov. 30, 2021
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                                                        Hon. Mark C. Scarsi
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Gibson, Dunn &
Crutcher LLP                         NETLIST’S NOTICE OF LODGING OF
                 SUPPLEMENTAL EXHIBITS RE: SUMMARY JUDGMENT W/R/T AFFIRMATIVE DEFENSES
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            1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
            2          PLEASE TAKE NOTICE that, on November 15, 2021, concurrently with the
            3    Final Pretrial Conference in the above captioned matter, the Court heard the parties on
            4    motions in limine (Dkts. 202, 203, 204, 211) and on supplemental briefing (Dkts. 233,
            5    234) requested by the Court regarding summary judgment with respect affirmative
            6    defenses (Dkt. 227). During this hearing, several additional items of authority and
            7    evidence were addressed to the Court.
            8          Plaintiff Netlist Inc. hereby lodges those items with the Court as follows:
            9          1. Meridian Project Sys., Inc. v. Hardin Construction Co., 2006 WL 5986588,
          10              Brief in Opposition to Plaintiff’s Motion for Partial Summary Judgment
          11              (E.D. Cal., Feb. 3, 2006).
          12           2. Excerpts from the transcript of the parties’ discovery hearing of June 10,
          13              2021, before The Honorable Douglas F. McCormick addressing Netlist’s
          14              request for further responses to its Interrogatory No. 2 and ordering same.
          15           3. Excerpts from Defendant Samsung Electronics Co., Ltd.’s Second
          16              Supplemental Responses to Plaintiff Netlist Inc.’s First Set of Interrogatories
          17              (supplemental response to Netlist’s Interrogatory No. 2) dated July 8, 2021.
          18           4. Excerpts from the transcript of the parties’ discovery hearing of July 13,
          19              2021, before The Honorable Douglas F. McCormick addressing Netlist’s
          20              request for yet further response to its Interrogatory No. 2 and declining same.
          21
          22     Dated: November 15, 2021                GIBSON, DUNN & CRUTCHER LLP
          23
                                                         By: /s/ Raymond A. LaMagna
          24                                                        Raymond A. LaMagna
          25                                             Attorneys for Plaintiff Netlist, Inc.
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Gibson, Dunn &
Crutcher LLP                         NETLIST’S NOTICE OF LODGING OF
                 SUPPLEMENTAL EXHIBITS RE: SUMMARY JUDGMENT W/R/T AFFIRMATIVE DEFENSES
